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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)

LORI KOONTZ, R.N.                   )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )           Case No. 8:12-CV-00407-AW
                                    )
RADIOLOGISTS ON CALL, LLC, et al. )
                                    )
      Defendants.                   )
______________________________________________________________________________

                          MOTION IN LIMINE TO EXCLUDE
                      CUMULATIVE EXPERT WITNESS TESTIMONY

          Plaintiff Lori Koontz, R.N., by counsel, hereby respectfully moves pursuant to Federal

Rule of Evidence 403 to exclude cumulative expert witness testimony in this medical

malpractice case.

          As set forth in the accompanying Memorandum of Law, Defendants have identified six

expert witnesses to testify as to causation/damages alone, in addition to two expert witnesses to

testify as to standard of care. This overkill tactic serves no purpose other than to give a jury the

false impression that testimony by weight of repetition equals merit.

          Plaintiff respectfully moves the Court to grant this Motion in Limine, and compel

Defendants to limit the presentation of expert witness testimony as to causation/damages issues.

Defendants should be compelled to elect no later than 30 days before trial.

          Plaintiffs’ counsel contacted Defendants’ counsel who would not consent to the relief

sought.
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Dated: November 7, 2013            Respectfully submitted,

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                                   Counsel for Plaintiff




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                               CERTIFICATE OF SERVICE
        I hereby certify that on this 7th day of November, 2013, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of
such filing (NEF) to the following:


                             Andrew J. Marter, Esq.
                             Armstrong, Donohue, Ceppos, Vaughan & Rhoades, Chtd.
                             204 Monroe Street, Suite 101
                             Rockville, MD 20850
                             Counsel for Defendants


                                           /S/Scott M. Perry



Koontz/MIL




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